     Case 2:25-cv-00227       Document 7       Filed 04/21/25      Page 1 of 2 PageID #: 66




                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                 CHARLESTON DIVISION

HARRY WILEY, individually
and on behalf of all others similarly situated,

        Plaintiff,

v.                                                           Civil Action No. 2:25-cv-227
                                                             (Honorable Irene C. Berger)

ROBERT F. KENNEDY, JR., in his
official capacity as Secretary of Department
of Health and Human Services, and
U.S. DEPARTMENT OF HEALTH AND
HUMAN SERVICES

        Defendants.


                        MOTION FOR PRELIMINARY INJUNCTION

        NOW COMES Plaintiff, Harry Wiley, by counsel, and applies for a Preliminary Injunction

pursuant to Rule 65 of the Federal Rules of Civil Procedure, effective during the pendency of this

litigation, to enjoin the Defendants from terminating the epidemiology program known as the Coal

Workers’ Health Surveillance Program (“CWHSP”) and the job transfer program known in the

mining industry by the name of its implementing regulation, “Part 90.” See 30 C.F.R. Part 90. With

no advance notice, on April 1, 2025, Defendants terminated most of the critical employees,

including the chief medical officer, overseeing the CWHSP and job transfer programs, thus

jeopardizing miners – like the Plaintiff, Harry Wiley – who seek to utilize these critical and time-

sensitive protections from continued dust exposure and debilitating disease. Specifically,

Defendants terminated or placed on administrative leave all employees in the Respiratory Health

Division of the National Institute for Occupational Safety and Health (“NIOSH”). As set forth

more fully in the Memorandum of Law accompanying this Motion, the Plaintiff seeks a


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   Case 2:25-cv-00227         Document 7       Filed 04/21/25      Page 2 of 2 PageID #: 67




Preliminary Injunction that restores NIOSH’s Respiratory Health Division and permits that

Division to carry out its mandatory statutory duties.

                                                        Respectfully Submitted,
                                                        HARRY WILEY, individually and on
                                                        behalf of all others similarly situated,
                                                        By counsel:
 /s/ Samuel B. Petsonk
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 /s/ J. Michael Becher
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